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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS

MARY A. MAYS,                                 )
455 E. 520th Ave                              )
Pittsburg, Kansas 66762                       )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )     Case No.
                                              )
BOARD OF COUNTY                               )
COMMISSIONERS OF                              )
CRAWFORD COUNTY, KANSAS,                      )
Serve by Certified Mail                       )
Don Pyle, Clerk                               )
Crawford County Courthouse                    )
111 E. Forest                                 )
Girard, KS, 66743                             )
                                              )
      Defendant.                              )

                                   COMPLAINT

       Plaintiff Mary Mays, for her causes of action against defendant Board of

 County Commissioners of Crawford County, Kansas, states and alleges as

 follows:

       1.     Plaintiff is a female individual and a resident of Pittsburg, Kansas.

 She was born in 1957.

       2.     Defendant Board of County Commissioners for Crawford County,

 Kansas is organized under the laws of the State of Kansas and may be served by service

 on the County Clerk.

       3.     Plaintiff was subjected to age discrimination by her former
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employer when defendant terminated plaintiff’s employment because of her age.

      4.    This case arises under the Age Discrimination in Employment Act,

29 U.S.C. 621, et seq., (ADEA) making jurisdiction appropriate in this Court.

      5.    Venue is proper in this Court as plaintiff was subjected to unlawful

discrimination in this judicial district and would have continued working in

this judicial district but for the unlawful discrimination.

      6.    Defendant is an “employer” within the meaning of the ADEA.

Defendant currently employs, and during all relevant times has employed, 20

or more persons.

      7.    Plaintiff was employed by defendant as a Deputy Sheriff from 1995

through October 27, 2017. At all times, she met the legitimate job expectations

of his employer.

      8.    Plaintiff timely filed with the Equal Employment Opportunity

Commission (EEOC) a charge of discrimination against defendant.

      9.    On or about May 15, 2018, the EEOC issued plaintiff a Notice of

Right to Sue. This Complaint is filed within 90 days of plaintiff’s receipt of the

Notice of Right to Sue.

      10.   The charge of discrimination provided the EEOC sufficient

opportunity to investigate the full scope of the controversy between the parties

and, accordingly, the sweep of this judicial complaint may be and is as broad
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as the scope of an EEOC investigation that could reasonably be expected to

have grown out of the charge of discrimination.

      11.     Defendant terminated plaintiff because of her age; but for her age,

she would not have been terminated.

      12.     Plaintiff failed to pass a firearms test in the fall of 2017. Plaintiff

has repeatedly passed these types of tests in the past.

      13.     Upon information and belief, defendant has allowed other younger

employees to retake such tests at later dates until they passed. Plaintiff was

not allowed to retake the test on another date.

      14.     Instead, the sheriff terminated plaintiff’s employment and stated

that he was doing so because she was too “old” and too “feeble” to do the job.

      15.     Plaintiff was 59 years old at the time of her termination. One or

more younger employees took over her duties.

      16.     Younger employees with similar performance and skills were not

terminated.

      17.     Defendant’s stated reasons for plaintiff’s termination are

pretextual and are not the true reasons for the termination.

      18.     As a direct and proximate result of defendant’s actions and

termination of plaintiff’s employment, plaintiff has sustained damages in the

form of lost income.

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      19.   Defendant’s conduct was willful in that it knew age discrimination

was against the law when it violated the rights of plaintiff.

      WHEREFORE, plaintiff prays the Court enter judgment in her favor and

against defendant, for such damages, as are fair and reasonable, including

back pay, liquidated damages, for her reasonable attorneys’ fees and costs

incurred herein, for interest as allowed by law, and for such other and further

legal and equitable relief as the Court deems proper.

                       DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable herein.

                  DESIGNATION OF PLACE OF TRIAL

      Plaintiff designates Kansas City, Kansas, as the place of trial.

                                     THORNBERRY BROWN, LLC

                               By:   /s/Stephen C. Thornberry
                                     Stephen C. Thornberry       KS #17494
                                     steve@ThornberryBrown.com
                                     Randall W. Brown            KS #17905
                                     randy@ ThornberryBrown.com
                                     4550 Main Street, Suite 205
                                     Kansas City, Missouri 64111
                                     (816) 531-8383 telephone
                                     (816) 531-8385 facsimile
                                     ATTORNEYS FOR PLAINTIFF




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